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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                    APPEARANCE OF COUNSEL FORM
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  [ ]Pro Bono [✔ ]Government

               Social Security Administration; Leland Dudeck, in his official capacity; Mike
  COUNSEL FOR: _______________________________________________________________________

  Russo, in his official capacity; Elon Musk, in his official capacity; U.S. DOGE Service, et al. as the
  __________________________________________________________________________________
                                                      (party name)

  ✔ appellant(s)      appellee(s)     petitioner(s)      respondent(s)     amicus curiae       intervenor(s)   movant(s)


  /s/ Jack Starcher
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   950 Pennsylvania Ave NW
  ________________________________________

   Washington, DC 20530
  ________________________________________                           john.e.starcher@usdoj.gov
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